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                                      January 15, 2019


BY E-FILING

The Honorable Colm F. Connolly
U.S. District Court
 for the District of Delaware
844 N. King Street
Wilmington, DE 19801
Re:       IPC Systems, Inc. v. Cloud9 Technologies LLC, C.A. No. 16-443 (CFC)

Dear Judge Connolly:

             Plaintiff IPC Systems, Inc. (“IPC”) respectfully submits this letter in
response to the Court’s January 9 Order asking whether Affinity Labs of Texas v.
Directv, LLC., 838 F.3d 1253 (Fed. Cir. 2016) (“Affinity”) and Two-Way Media
Ltd. v. Comcast Cable Communications, LLC, 874 F.3d 1329 (Fed. Cir. 2017)
(“Two-Way Media”) (collectively, the “Cases”) are relevant to Cloud9
Technologies’ (“Cloud9”) motion to dismiss. They are. A comparison with those
Cases emphasizes the patent eligibility of the instant claims: whereas the ineligible
claims of the Cases attempted to claim a broad landscape using conventional
technologies, the asserted claims here teach a specific and useful patentable
solution.

             In Affinity, the claims lacked “a particular way of performing the
function [of wirelessly communicating regional content].” 838 F. 3d at 1258
(“nothing in claim 1 . . . is directed to how to implement out-of-region broadcasting
on a cellular telephone.”) (emphasis in original). And the claims recited generic
features of cellular phones used in conventional ways to implement the abstract
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idea. In doing so, the claims described a wide landscape of use and were not
directed to any particular implementation.

              In Two-Way Media, the claims also did not “sufficiently describe how
to achieve . . . results in a non-abstract way.” 874 F. 3d at 1337 (emphasis added).
The claims failed to recite either a specific protocol or selection signal. Id. Thus,
the claims did not recite more than the abstract idea, itself. Id.

              By contrast, claim 1 of the ’566 recites specific implementation
details for how to perform the claimed functions to achieve a useful result. Claim 1
first describes an architecture of technical components, including a turret switching
system that communicates with a web server, a turret device and a remote
communications device via a first communications network, and the web server
communicates to a client device by a second communications network. Unlike the
Cases, however, the ’566 claims recite how to achieve a useful result: an interface
seizes a line “by causing the client device to communicate a predetermined
message to the turret switching system over the second communication network.”
(emphasis added). The claimed “predetermined message” further enumerates a
turret-specific implementation in that it contains information identifying particular
turret resources and functionality available on the turret to be performed that is
understood by the turret switching system. See D.I. 162. This “by” clause is exactly
what the claims in the Cases lacked: implementation details that narrow and
explain how to achieve a useful result. Furthermore, the ’566 patent provides
specific examples of the predetermined message propagating through the technical
components. FIGS 7-9, Cols. 7:38-8:11:
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              Similarly, the ’177 claims provide specific implementation details that
were lacking in the Cases. This Court found the preamble of claim 8 limiting. D.I.
162. Thus, the claim reads as “a method for establishing remote access” (a very
useful result for traders when this patent was filed in 1996, see col. 1:6-27) with a
number of required features listed in the preamble, followed by “including the
steps of:” and then providing the exact type of implementation details lacking in
both Cases. The steps provide details of which elements communicate with which
other elements and by which channels.

              Finally, the Cases rely on the determination that the claims involved
conventional elements used in conventional ways. See 838 F. 3d at 1261; 874 F.
3d. 1338-39. By contrast, the claims of the ’566 and ’177 patents use elements that
were not conventional in the field of trading turrets at the time of filing. See ’566
patent, col. 2:17-45 (describing how, traditionally, PBX systems and conventional
computers were ill-suited to act as trading turrets); ’177 patent, col. 1:6-27. Any
attempt made by Cloud9 to contradict such statements in the patent creates issues
of fact, making a §101 determination inappropriate at this stage. Berkheimer v. HP
Inc., 881 F. 3d. 1360, 1369 (Fed. Cir. 2018) (“Whether something is well-
understood, routine, and conventional to a skilled artisan at the time of the patent is
a factual determination.”). Notably, in a case cited by Two-Way Media, the Federal
Circuit found a claim involving conventional elements to be non-abstract because
it “eliminates many ‘complications’ inherent in previous solutions,” similar to the
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’566 and ’177 claims. See Thales Visionix Inc. v. US, 850 F. 3d 1343, 1348 (Fed.
Cir. 2017).

          For the above reasons, a comparison with Affinity and Two-Way
Media emphasizes the claims eligibility.

             IPC respectfully requests a hearing to allow further discussion of the
recited implementation details.

                                      Respectfully,

                                      /s/ Stephen J. Kraftschik

                                      Stephen J. Kraftschik (#5623)

SJK:ncf

cc:   Clerk of Court (by hand delivery)
      All Counsel of Record (by e-mail)
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                      WORD COUNT CERTIFICATION
      The undersigned counsel hereby certifies that the foregoing contains 743

words, which were counted by using the word count feature in Microsoft Word, in

14-point Times New Roman font. The foregoing word count includes only the

body of the letter.


                                            /s/ Stephen J. Kraftschik
                                            ___________________________
                                            Stephen J. Kraftschik (#5623)
